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                        Exhibit 1
       Case 5:17-cv-01988-JGB-JEM Document 1-1 Filed 09/27/17 Page 2 of 6 Page ID #:10
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            1     Heather McMillan (188939)
                  Daniel P. Stevens (164277)                                                       D
            2     STEVENS & McMILLAN                                              SUPERlORCOURT OF CALIFORNtA
                  335 Centennial Way                                               COUNTY OF SAN BERNARDINQ
                                                                                  SAN BERPIARC!NO C!`Jtf_ CtMS{,^,N
            3     Tustin, CA 92780
                  Tel.: (714) 730-1000                                                   _-MG 1 4-N17
            4     Fax: (714) 730-1067
                                                                             BY                       Gq
            5     Attorneys for Plaintiff                                                                 DEPUTY
                  MAHMOUD ITANI
            6

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            8
                               IN THE SUPERIOR COURT FOR THE STATE OF CALIFORNIA
            9
                                             FOR TH.E COUNTY OF SA1V BERNARDINO
           10
                  MAHMOUD ITANI,                               }       Case No.:                 C IItDS 1715601
           ll                                                  )
                                            Plaintiff,         )
           12                                                  )        COMPLAINT FOR DAMAGES
                  V.                                           )
           13                                 )                         1.        Violation of Labor Code §1102.5
                  WALGREEN CO, WALGREEN )                                         [Whistle Blower)
           14     PHARMACY SERVICES and DOES 1)                        2.         Wrongful Termination
                  through 50, inclusive,      )
           15
                                            Defendants.
           16

           17
                  Plaintiff alleges:
           18
                          1.      At all times mentioned in this complaint, Defendants WALGREEN COMPANY and
           19
                  WALGREEN PHARMACY SERVICES were each, respectively, a business entity, duly licensed,
           20
                  and conducting business in the County of San Bemardino, State of Califomia.
           21
                          2.      At all times mentioned in this complaint, Plaintiff MAHMOUD ITANI was a
                  resident of Califomia. During the relevant time period, Plaintiff was employed by and then
           23
                  terininated by Defendants.
           24 ,
                          3.      Plaintiff does not know the true names of Defendants DOES 1 through 50, inclusive,
           ?5 I
                  and therefore sue them by those fictitious names.
           26 I
                          4.      Plaintiff is informed and believes, and on the basis of that information and belief
           27
           28                                                      1

                                                          Complaint for Damages                                         j
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     1     alleges, that at all times mentioned in this complaint, DOE defendants were the agents and i
     2     employees oftheir co-defendants or otherwise responsible for the conduct complained ofherein, and
     3     in doing the things alleged in this complaint were acting within the course and scope of that agency
                                                                                                                  i
     4     and employment or were otherwise responsible for the damages complained of by the Plaintiff.
     5                                       FACTUAL ALLEGATIONS
     6            5.      Mahmoud Itani commenced employment with Walgreen Pharmacy Services
     7 I Midwest in 2004 as a pharmacist.

     8            6.      He has been working the night shift in San Bernardino for the past two years. It is
     9 I in a bad neighborhood.

    10            7.      On the morning of October 13, 2014, shortly after midnight, Mr. Itani was doing
    11     drive through and pickup and dropoffs in the store and consultations. Security had not shown up
    12     for their shift. Mr. Itani was the only pharmacist on duty.
    13            8..     Mr. Itani saw someone jump the counter into the pharmacy Not understanding
    14     what was happening, he ran back to find out what was going on. Mr. Itani came around the
    15     comer just as the intruder reversed his path and they bumped into each other. The intruder fell
    16     and Mr. Itani instinctively tried to grab him. The intruder pushed Mr. Itani away, jumped over
    17 I the counter and fled.

    18            9.      Mr. Itani met with loss prevention, David, the same morning. David opened up a
    19     workers compensation case. He told David he was not physically hurt but he was reaIly startled
    20     and shaken up. David pointed out there were some scratches on his neck.
    21 I          10.     Around 7 am on the same day, Mr. Itani met with 7ohnny Escobar, the District
    22     Manager. He told W. Escobar he did not feel safe and something needed to be done to protect
    23     them. He told him that security wasn't even there that night. Mr. Escobar became angry that Mr.
    24     Itani was complaining about the safety of the store.
    25            11.     During his next shift, Mr. Itani told the store manager, David Montez, about what
    26     happened, and complained about the District Manager's response to his complaint about
    27 I secunty.

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     1             12.     On October 19, 2016, Mr. Itani was terminated by Mr. Escobar. Mr. Itani had
     2     never had any oral or written warnings and had always been a good employee.
     3                                         FIRST CAUSE OF ACTION
     4                              (Violation of Labor Code 1102.5 - )Whistle Blower)
     5                                     (By Plaintiff against AlI Defendants)
     r.i           13.     Plaintiff hereby incorporates by reference paragraphs 1 through 12, inclusive, of
     7     this compiaint as if fully set forth.
     8             14.     This cause of action is brought pursuant to California Labor Code section 1102.5
     9     which prohibits an employer from retaliating against an employee for disclosing information to a
    10 ! person with authority over the employee or who has the authority to investigate a violation of
    11     state or federal statute, or a violation or noncompliance with a state or federal rule or regulation.
    12             15.     Plaintiff filed a complaint with a person who had authority to investigate that
    13     defendant employer was causing an unsafe condition at their store in violation of Labor Code
    14     Section 6400, et seq.
    15            16.      Defendant retaliated against the plaintiff by terminating him.
    16            17.      Pursuant to California Labor Code section 1102.5(f), the defendant wilI be liable
    17     for a penalty of up to $10,000.00 for each violation of this section.
    18            18.      As a direct and proximate result of Defendant's unIawful conduct as alleged in
    19     this complaint, Plaintiff has suffered extreme and severe anguish, humiliation, nervousness,
    20     anger, tension, anxiety and emotional distress.
    21            19.     As a fiuther direct and proximate result of the unlawful conduct, Plaintiff has
    22     suffered and continues to suffer loss of income, loss of eaming capacity, loss of job opportunity
    23     and other Iosses.
    24            20.     Pursuant to California Labor Code section 98.6, plaintiff also seeks the remedy of
    25     reinstatement and reimbursement for lost wages from the defendant.
    26
    27 ///
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                                                   Complaint for Damages
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                                               SECOND CAUSE OF ACTION
                                                    (VJrongful Termination)
                                             (By Plaintiff Against All Defendants)
                     21.     Plaintiff hereby incorporates by reference paragraphs 1 through 20, inclusive,
             as though fully set forth at this point.
                    22.      Piaintiff aIleges that the discharge was wrongfuI because it was in violation of the
     7       public policy of the State of California as set forth in Labor Code Sections 6400 and 1102.5.
     8              23.      As a direct and proximate result of Defendants' unlawful conduct as alleged in
     9       this complaint, Plaintiff has suffered extreme and severe anguish, humiliation, anger, tension,
    10       anxiety, depression, lowered self-esteem, sleeplessness and emotional distress.
    Il               24.     As a further direct and proximate result of the unlawful conduct, Plaintiff has
    12       suffered and continues to suffer loss of income, loss of earning capacity, loss of job opportunity
    13       and other losses.
    14               25.     Because the acts taken toward Plaintiffwere carried out by Defendants acting in a
    15       deliberate, cold, callous, malicious, oppressive, and intentional manner in order to injure and
    16       damage plaintiff, Plaintiff requests the assessment of punitive damages against Defendants in an
    17       amount appropriate to punish and make an example of Defendants.
    18              WHEREFORE, Plaintiff demands judgment against Defendants as follows:
    19       As to the First Cause of Action:
    20 ~             I.     For general and compensatory damages;
    21              2.      For special damages;
         I
    22              3.      Penalty of $10,000 for each violation of I IO2.5(f);
    23 ~            4.       Reinstatement and reimbursement for lost wages under Labor Code §98.6;
       ~
    24              S.      For prejudgment interest on all amounts claimed that are readily ascertainable;
    25 I            6.      For Punitive dama ges•~ and
    26               7.     For such other and further relief that the court considers proper.
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    :                                                            El

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     1       As to the Second Cause of Action:
     2             1.     For general and compensatory damages;
     3             2.     For special damages according to proof,
     4             3.     For punitive damages;
     5             4.     For prejudgment interest on all amounts claimed that are readily ascertainable;
     6             5.     For costs; and
     7             6.     For such other and further relief that the court considers proper.
     8

     9   I                                                      STEVENS & McMILLAN
    10

    11       Dated: August 1, 2017                      By:        (
                                                                D        P.STEVENS
    12                                                          Attorney for Plaintiff
                                                                MAHMOUD ITANI
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                                                  Complaint for Damages
